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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF VERMONT

GARRETT SITTS, et al.,

PLAINTIFFS,
                                                  Civil Action No. 2:16-cv-00287-cr
v.

DAIRY FARMERS OF AMERICA, INC.,
and DAIRY MARKETING SERVICES,
LLC,

DEFENDANTS.


                  JOINT RESPONSE TO COURT’S MAY 1, 2020 ORDER
                          REGARDING SEPARATE TRIALS

       In accordance with the Court’s May 1, 2020 Order for additional briefing with respect to

Federal Rules of Civil Procedure 21 and 42(b) (ECF 191), the Parties hereby advise the Court

that they have agreed that the Court should order separate trials under Rule 42(b).
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 Dated: June 1, 2020                           Respectfully submitted:


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                                 CERTIFICATE OF SERVICE

        I, Dana A. Zakarian, hereby certify that this document filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants on this 1st
day of June 2020.

                                                      /s/ Dana A. Zakarian




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